           8:11-cr-00039-JFB-TDT                      Doc # 84         Filed: 06/18/15             Page 1 of 2 - Page ID # 217
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           DistrictDistrict
                                                      __________    of Nebraska
                                                                            of __________

                    United States of America
                               v.                                          )
                          Christian Flores                                 )
                                                                           )     Case No: 8:11CR39
                                                                           )     USM No: 24054-047
Date of Original Judgment:                            11/18/2011           )
Date of Previous Amended Judgment:                                         )     David R. Stickman
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   87                      months is reduced to 70 months                            .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          11/18/2011              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  06/18/2015
                                                                                                         Judge’s signature


Effective Date:              11/02/2015                                        Joseph F. Batillon, Senior United States District Judge
                     (if different from order date)                                                    Printed name and title
           8:11-cr-00039-JFB-TDT                     Doc # 84           Filed: 06/18/15            Page 2 of 2 - Page ID # 218
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                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)


                                                Christian Flores
DEFENDANT:
CASE NUMBER: 8:11CR39
DISTRICT:        District of Nebraska


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 29               Amended Total Offense Level: 27
Criminal History Category:    I                Criminal History Category:   I
Previous Guideline Range:     87 to 107 months Amended Guideline Range:     70                                                    to 87         months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
  ✔
  u The reduced sentence is within the amended guideline range.
  u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
  u The reduced sentence is above the amended guideline range.

III. ADDITIONAL COMMENTS
  Sentenced reduced pursuant to joint stipulation of the parties, Filing No. 82. The defendant's sentence is reduced by
  17 months.
